Fill in this information to identify the case

Debtor 1 James Michael Addison

Debtor 2 Regina Ann Addison
(Spouse, if filing)

United States Bankruptcy Court for the: SOUTHERN District of INDIANA
                                                                                     (State)
Case number 14-07857


Form 4100R
Response to Notice of Final Cure Payment                                                                                                        10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

Part 1:            Mortgage Information

Name of creditor: Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, as indenture trustee, for the             Court claim no. (if known):
CSMC 2017-1 Trust, Mortgage-Backed Notes, Series 2017-1 , by and through its mortgage servicing agent Select              7
Portfolio Servicing, Inc.,

Last 4 digits of any number you use to identify the debtor's account: 8010

Property address: 7820 Deer Drive
                   Number                  Street



                     Nineveh IN 46164
                        City                                     State              Zip Code

Part 2:            Prepetition Default Payments
Check one:

      Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
      creditor's claim.

      Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on
      the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this              $ __________
      response is:

Part 3:            Postpetition Mortgage Payment
Check one:

      Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
      Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
      The next postpetition payment from the debtor(s) is due on:                   05/01/2019
                                                                                    MM/DD/YYYY
      Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of
      the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

      a.     Total postpetition ongoing payments due:
                                                                                                                              (a) $__________
      b.     Total fees, charges, expenses, escrow, and costs outstanding:
                                                                                                                              (b) $__________
      c.     Total. Add lines a and b.
                                                                                                                              (c) $__________
      Creditor asserts that the debtor(s) are contractually
      obligated for the postpetition payment(s) that first became due on:          ___/___/____
                                                                                   MM/DD/YYYY
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Debtor 1          James Michael Addison                                                       Case number (if known) 14-07857
            First Name                      Middle Name         Last Name



Part 4:              Itemized Payment History
  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
       all payments received;
       all fees, costs, escrow, and expenses assessed to the mortgage; and
       all amounts the creditor contends remain unpaid.


Part 5:              Sign Here
  The person completing this response must sign it. The response must be filed as a supplement to the creditor's proof of
  claim.
  Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X           /s/ Sarah E. Barngrover                                               Date     May 1, 2019
      Signature

  Print:                   Sarah E. Barngrover                                      Title    Attorneys for Creditor

  Company                  Manley Deas Kochalski LLC

  Address                  P.O. Box 165028
                         Number             Street

                           Columbus, OH 43216-5028
                         City                        State        ZIP Code

  Contact phone            614-220-5611                                             Email     amps@manleydeas.com

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Response to Notice of Final

Cure was served on the parties listed below via e-mail notification:

   U.S. Trustee, 101 W. Ohio St.. Ste. 1000, Indianapolis, IN 46204, 317-226-6101

   Ann M. DeLaney, Office of Ann M. Delaney, PO Box 441285, Indianapolis, IN 46244,
   ECFdelaney@trustee13.com

   Mark S. Zuckerberg, Attorney for James Michael Addison and Regina Ann Addison, 429 N
   Pennsylvania St, Suite 100, Indianapolis, IN 46204, filings@mszlaw.com


                                                                              01 2019:
and on the below listed parties by regular U.S. mail, postage prepaid on May ___,

   James Michael Addison and Regina Ann Addison, 7820 Deer Drive, Nineveh, IN 46164

                                                             /s/ Sarah E. Barngrover




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